                                    UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF KENTUCKY
                                   CENTRAL DIVISION AT LEXINGTON
                                      CIVIL MINUTES – GENERAL

Case No. 5:24-CV-304-DCR                  At Lexington                  Date May 5, 2025

Forcht Bank, NA, et al v. Consumer Financial Protection Bureau, et al

PRESENT:         HON. DANNY C. REEVES, U.S. DISTRICT JUDGE

                  Kimberly Marsh               Lauren Gootee
                   Deputy Clerk                Court Reporter

Attorney Present for Plaintiffs:                        Attorney Present for Defendant:
John T. McGarvey                                        Lauren Gorodetsky
Judson O. Littleton
                                                        Attorney Present for Proposed Intervenor Defendant:
                                                        Michael P. Abate

PROCEEDINGS:                        MOTION HEARING

        This matter was called for hearing with counsel present as noted. Counsel stated their respective
positions regarding proposed Intervenor Defendant Financial Technology Association’s motion to
clarify or lift stay for the purpose of resolving the motion to intervene and motion to expedite
consideration. [Record No. 47 and 48] Being sufficiently advised, it is hereby

       ORDERED as follows:

       1. Financial Technology Association’s Motion to Clarify or Lift Stay [Record No. 47] is
GRANTED, in part. The stay is lifted to allow parties to complete briefing on the proposed intervenor’s
motion to intervene.

       2.      The plaintiffs and defendant may file a response to the renewed motion to intervene
[Record No. 43] on or before Monday, May 12, 2025. The proposed intervenor defendant may file a
reply on or before Friday, May 16, 2025.

       Dated: May 5, 2025.




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